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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.      CV 17-5526-JFW(Ex)                                                Date: March 1, 2018

Title:        Mandano Mellano -v- Fallon Group, Inc., et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                   None Present
              Courtroom Deputy                                 Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER TAKING UNDER SUBMISSION PLAINTIFF'S
                                         MOTION FOR LEAVE TO FILE AMENDED COMPLAINT
                                         [filed 2/5/18; Docket No. 24]


       Plaintiff Mandano Mellano’s Motion for Leave to File an Amended Complaint is currently on
calendar for March 5, 2018 at 1:30 p.m. Pursuant to Rule 78 of the Federal Rules of Civil
Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for decision without
oral argument. The hearing calendared for March 5, 2018 is hereby vacated, and the matter is
taken off calendar. The matter will be deemed submitted on the vacated hearing date, and the
clerk will notify the parties when the Court has reached a decision.


         IT IS SO ORDERED.




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